
JOHNSON, C. J.,
and McIlvaiNE, J. We concur in affirming this judgment on the ground that the act in question is constitutional. On the point made by the majority, for uniting in affirming this judgment, we express no opinion.
It is a.point not made at bar, nor was it argued or relied on, nor has it been considered by the court, nor was the attention of the court called to it until a vote was being taken in the case. This .is of. itself a sufficient reason for not expressing any opinion on this point.
This case was admitted upon the docket for the sole purpose of again considering the validity of the Scott law, and that was the only question argued by counsel, and we think it due the plaintiff in error, as well as the public, that this question, fairly made, should have been met and decided.
